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                            UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TEXAS
                                 BEAUMONT DIVISION

 UNITED STATES OF AMERICA                        §
                                                 §
                                                 §
 VS.                                             §   CASE NO. 1:07-CR-236(1)
                                                 §
 ROBERT EARL WILSON                              §


          FINDINGS OF FACT AND RECOMMENDATION ON GUILTY PLEA
               BEFORE THE UNITED STATES MAGISTRATE JUDGE

        The District Court referred this matter to the undersigned United States Magistrate Judge

 for administration of a guilty plea and allocution under Rules 11 and 32 of the Federal Rules of

 Criminal Procedure. Magistrates have the statutory authority to conduct a felony guilty plea

 proceeding as an “additional duty” pursuant to 28 U.S.C. § 636(b)(3). United States v. Bolivar-

 Munoz, 313 F.3d 253, 255 (5th Cir. 2002), cert. denied, 123 S. Ct. 1642 (2003).

        On August 14, 2008, this cause came before the undersigned United States Magistrate

 Judge for entry of a guilty plea by the Defendant, Robert Earl Wilson, on Count 1 of the

 charging Superseding Indictment filed in this cause. Count 1 of the Superseding Indictment

 charges that on or about the 30th day of November, 2007, in the Eastern District of Texas, Robert

 Earl Wilson, Defendant herein, having been convicted of a crime punishable by imprisonment

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 for a term exceeding one year1, did knowingly possess in and affecting commerce a firearm, to

 wit: one Sig Sauer, Model P220, .45 caliber pistol, bearing serial number G262059; and one (1)

 Norinco, Model 213, 9mm pistol, bearing serial number 312826, in violation of Title 18, United

 States Code, Section 922(g)(1).

        Defendant, Robert Earl Wilson, entered a plea of guilty to Count 1 of the Superseding

 Indictment into the record at the hearing.

        After conducting the proceeding in the form and manner prescribed by Federal Rule of

 Criminal Procedure 11 the Court finds:

        a.          That Defendant, after consultation with counsel of record, has knowingly, freely

 and voluntarily consented to the administration of the guilty plea in this cause by a United States

 Magistrate Judge in the Eastern District of Texas subject to a final approval and imposition of

 sentence by the District Court.

        b.          That Defendant and the Government have entered into a plea agreement which

 was disclosed and addressed in open court, entered into the record, and placed under seal.

        c.          That Defendant is fully competent and capable of entering an informed plea, that

 Defendant is aware of the nature of the charges and the consequences of the plea, and that the

 plea of guilty is a knowing, voluntary and freely made plea. Upon addressing the Defendant

 personally in open court, the Court determines that Defendant’s plea is voluntary and did not

 result from force, threats or promises. See FED . R. CRIM . P. 11(b)(2).

        d.          That Defendant’s knowing, voluntary and freely made plea is supported by an


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            The Indictment also sets forth the specific case information about Mr. Grant’s prior felony convictions.

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 independent factual basis establishing each of the essential elements of the offense and

 Defendant realizes that his conduct falls within the definition of the crime charged under 18

 U.S.C. § 922(g)(1).

                                 STATEMENT OF REASONS

        As factual support for Defendant’s guilty plea, the Government presented the following

 evidence, which was admitted into the record at the plea hearing. See Factual Basis and

 Stipulation. The Government and the Defendant agreed that if this case were to proceed to trial,

 the Government would prove that Defendant is one and the same person charged in the

 Superseding Indictment and that the events described in the Superseding Indictment occurred in

 the Eastern District of Texas. The Government would also prove each essential element of the

 charged offense beyond a reasonable doubt through the testimony of witnesses, including expert

 witnesses, and through admissible exhibits.

        Specifically, the Government would prove that on November 30th, 2007, in Beaumont,

 Texas, Robert Earl Wilson (Wilson), Anthony Lionel Jones (Jones), and Jeffery Jamon Grant

 (Grant) conspired with one another to kidnap Michael Wayne Valmore (Valmore) for the

 purpose of obtaining money and "crack" cocaine.

        Wilson directed Serrina Copeland (Copeland) to call Valmore and request that Valmore

 deliver $200 worth of "crack" cocaine to her residence. When Valmore arrived at Copeland's

 residence with the "crack" cocaine, Wilson, Jones, and Grant, wearing black ski masks,

 kidnapped Valmore at gunpoint and brought Valmore to Valmore's residence. Wilson entered

 Valmore's residence and demanded that Debra Kay Valmore (Valmore's wife) give them


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 Valmore's money and "crack"cocaine.

        Wilson threatened to kill Valmore in the event that Valmore's wife telephoned the police

 or failed to give them Valmore's money and "crack" cocaine. Wilson, Jones and Grant brought

 Valmore to a remote, wooded location. Valmore was bound and blind-folded.

        Valmore's wife telephoned 911 and Beaumont, Texas, Police Department (BPD)

 Sergeant Pat Barton (Sergeant Barton) was dispatched to Valmore's residence.

        Wilson used Valmore's cell phone to telephone Valmore's wife, repeating his demands

 and threats, and eventually ordering her to place Valmore's money and "crack" cocaine in a

 paper bag and drop it at the barber shop across from the S & R club at the intersection of

 Concord and Brickyard in Beaumont (the Ransom-Drop Location).

        Valmore's wife located six "cookies" of "crack" cocaine and $1,200 cash secreted inside

 Valmore's closet, and Sergeant Barton took custody of the "crack" cocaine. Sergeant Barton and

 other BPD officers planned a "controlled drop" of the ransom as directed by Wilson, substituting

 six peanut-butter cookies for the six "crack" cookies to simulate the controlled substance. BPD

 officers set-up surveillance around the Ransom-Drop Location, and Sergeant Barton followed

 Valmore's wife as she traveled to the Ransom-Drop Location to leave the bag containing the

 money and simulated controlled substance.

        Grant and Jones immediately arrived at the Ransom-Drop Location and Jones retrieved

 the bag of money and simulated controlled substance. Grant and Jones fled in Grant’s vehicle,

 wrecked, and fled on foot until they were apprehended by BPD officers who had pursued them

 from the Ransom-Drop Location. Officers found Jones with a black ski mask and a loaded


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 magazine for a Sig Sauer P220 pistol on his person. Officers also found Grant with jewelry on

 his person that was later determined to have been taken from Valmore during the kidnapping

        Officers further found an IMEZ pistol on the front floorboard of Grant’s vehicle, within

 the reach of both front-seat occupants of the vehicle, Grant and Jones.

        When Grant and Jones did not return from the Ransom-Drop Location, Wilson drove

 Valmore back to Valmore's vehicle, which was under surveillance by BPD officers.

        BPD officers arrested Wilson and discovered Valmore in the back seat of Wilson’s

 vehicle, bound and partially blindfolded. Officers also discovered two handguns and a small

 amount of "crack" cocaine located on the front floorboard of Wilson’s car. One of the handguns

 was a Sig Sauer Model P220 .45 that matched the loaded magazine that was recovered from

 Jones’ person.

        The firearm that was found in the possession of Grant and Jones, as set forth herein, is

 described as follows: one (1) IMEZ, Model IJO70-18A, .380 caliber pistol, bearing serial

 number J052707.

        The two firearms that were found in the possession of Wilson, as set forth herein, are

 described as follows: one (1) Sig Sauer, Model P220, .45 caliber pistol, bearing serial number

 G262059; and one (1) Norinco, Model 213, 9mm pistol, bearing serial number 312826. The

 ammunition that was found in the possession of Jones, as set forth herein, is described as

 follows: seven (7) rounds of CCI, .45 caliber ammunition.

        A nexus expert with Bureau of Alcohol, Tobacco, Firearms and Explosives (ATFE)

 examined the three firearms in this case and determined that they had all been manufactured


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 outside the State of Texas and, therefore, affected interstate commerce.

          Prior to this possession of the above listed firearms, Wilson was finally convicted of the

 felony offense of a crime punishable by imprisonment for a term exceeding one year, to wit:

 Aggravated Assault, a felony, in Cause Number 62259, in the Criminal District Court of

 Jefferson County, Texas; on July 6, 1993.

          Defendant, Robert Earl Wilson, agreed with the facts set forth by the Government and

 signed the Factual Basis. Counsel for Defendant and the Government attested to Defendant’s

 competency and capability to enter an informed plea of guilty. The Defendant agreed with the

 evidence presented by the Government and personally testified that he was entering his guilty

 plea knowingly, freely and voluntarily.

                                        RECOMMENDED DISPOSITION

          IT IS THEREFORE the recommendation of the undersigned United States Magistrate

 Judge that the District Court accept the Guilty Plea of Defendant which the undersigned

 determines to be supported by an independent factual basis establishing each of the essential

 elements of the offense charged in Count 1 of the charging Superseding Indictment on file in

 this criminal proceeding. The Court also recommends that the District Court conditionally

 accept the plea agreement.2 Accordingly, it is further recommended that, Defendant, Robert

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            “(3) Judicial Consideration of a Plea Agreement.
 (A) To the extent the plea agreement is of the type specified in Rule 11(c)(1)(A) or (C), the court may accept the
 agreement, reject it, or defer a decision until the court has reviewed the presentence report.
 (B) To the extent the plea agreement is of the type specified in Rule 11(c)(1)(B), the court must advise the defendant
 that the defendant has no right to withdraw the plea if the court does not follow the recommendation or request.
 (4) Accepting a Plea Agreement. If the court accepts the plea agreement, it must inform the defendant that to the extent
 the plea agreement is of the type specified in Rule 11(c)(1)(A) or (C), the agreed disposition will be included in the judgment.
 (5) Rejecting a Plea Agreement. If the court rejects a plea agreement containing provisions of the type specified in Rule
 11(c)(1)(A) or (C), the court must do the following on the record and in open court (or, for good cause, in camera):

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 Earl Wilson be finally adjudged as guilty of the charged offense under Title 18, United States

 Code, Section 922(g)(1).

          Defendant is ordered to report to the United States Probation Department for the

 preparation of a presentence report. At the plea hearing, the Court admonished the Defendant

 that the District Court may reject his plea and that the District Court can decline to sentence

 Defendant in accordance with the plea agreement, the federal sentencing guidelines and/or the

 presentence report because the sentencing guidelines are advisory in nature. The District Court

 may defer its decision to accept or reject the plea agreement until there has been an opportunity

 to consider the presentence report. See FED . R. CRIM . P. 11(c)(3). If the Court rejects the plea

 agreement, the Court will advise Defendant in open court that it is not bound by the plea

 agreement and Defendant may have the opportunity to withdraw his guilty plea, dependent upon

 the type of the plea agreement. See FED . R. CRIM . P. 11(c)(3)(B). If the plea agreement is

 rejected and Defendant still persists in the guilty plea, the disposition of the case may be less

 favorable to Defendant than that contemplated by the plea agreement. Defendant has the right to

 allocute before the District Court before imposition of sentence.

                                                  OBJECTIONS

          Within ten (10) days after receipt of this report, any party may serve and file written

 objections to the report and recommendation of the Magistrate Judge pursuant to 28 U.S.C. §



 (A) inform the parties that the court rejects the plea agreement;
 (B) advise the defendant personally that the court is not required to follow the plea agreement and give the defendant
 an opportunity to withdraw the plea; and
 (C) advise the defendant personally that if the plea is not withdrawn, the court may dispose of the case less favorably
 toward the defendant than the plea agreement contemplated.” F ED . C RIM . P. 11(c)(3)-(5).

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 636(b)(1)(C). Failure to file written objections to the proposed findings of facts, conclusions of

 law and recommendations contained within this report within ten (10) days after service shall bar

 an aggrieved party from de novo review by the District Judge of the proposed findings,

 conclusions and recommendations, and from appellate review of factual findings and legal

 conclusions accepted by the District Court except on grounds of plain error. Douglass v. United

 Serv.. Auto. Ass’n., 79 F.3d 1415 (5th Cir. 1996) (en banc); 28 U.S.C. § 636(b)(1).           The

 constitutional safeguards afforded by Congress and the courts require that, when a party takes

 advantage of his right to object to a magistrate’s findings or recommendation, a district judge

 must exercise its nondelegable authority by considering the actual evidence and not merely by

 reviewing and blindly adopting the magistrate’s report and recommendation. See Hernandez v.

 Estelle, 711 F.2d 619, 620 (5th Cir. 1983); United States v. Elsoffer, 644 F.2d 357, 359 (5th Cir.

 1981) (per curiam).



                        SIGNED this the 14th day of August, 2008.




                                                          ____________________________________
                                                          KEITH F. GIBLIN
                                                          UNITED STATES MAGISTRATE JUDGE




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